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          This is Exhibi't....~......,....,,.....referred
                                                        to in the

          affidavit   of....t,.Q!,.t'.i!....,.+2!22.~2..~Q,l....,...
          sworrI before me,    this....,Z:..~........,..........,,.....
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                           A COMMISSIONER   FOB TAKING AFFIDAVITS
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                                                                      Court File No: 09-CL-7950

                                       ONTARIO
                              SUPERIOR COURT OF JUSTICE
                                  (COMMERCIAL LIST)

            THE HONOURABLE MR.                   )     TUESDAY, THE th27       DAY OF
            JUSTICE PATTILLO                     )     AUGUST, 2013




       IN THE MATTER OF THE COMPANIES' CREDITORS ARRANGEMENT ACT,
                       R.S.C. 1985, c. C-36, AS AMENDED

  AND I N THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
 NORTEL NETWORKS CORPORATION, NORTEL NETWORKS LIMITED, NORTEL
 NETWORKS GLOBAL CORPORATION, NORTEL NETWORKS INTERNATIONAL
   CORPORATION AND NORTEL NETWORKS TECHNOLOGY CORPORATION

     APPLICATION UNDER THE 3COMPANIES CREDITORS ARRANGEMENT ACT,
                     R.S.C. 1985, c. C-36, AS AMENDED


                                          ORDER
                                    (Deposition Protocol)


          THIS MOTION, made by Nortel Networks Corporation, Nortel Networks Limited,

Nortel Networks Technology Corporation, Nortel Networks Global Corporation and Nortel

Networks International Corporation (collectively, the "Canadian Debtors") jointly with Ernst &

Young Inc. in its capacity as monitor (the "Monitor") of the Canadian Debtors for the relief set

out in the Notice of Motion dated August 26, 2013 was heard this day at 330 University Avenue,

Toronto, Ontario.


          ON READING the Ninety-Seventh Report o f the Monitor dated August 26, 2013 (the

"Ninety-Seventh Report") and on hearing submissions of counsel for the Canadian Debtors, the

Monitor, and on being advised of the support o f the other Core Parties (as defined in the Ninety-




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Seventh Report), no one appearing for any other person on the service list, although served as

appears from the Affidavit o f Service o f Jennifer Stam, sworn August 26, 2013, filed.


1.      THIS COURT ORDERS that the time for the service o f the Notice of Motion, the

Ninety-Seventh Report, and the Motion Record is hereby abridged and validated so that this

Motion is properly returnable today and hereby dispenses with further service thereof.


2.      THIS COURT ORDERS that the deposition protocol which is Exhibit "1" to the

Stipulation, both of which are attached as Schedule A hereto, be and are hereby approved.


MISCELLANEOUS


3.      THIS COURT HEREBY REQUESTS the aid and recognition of any court, tribunal,

regulatory or administrative body having jurisdiction in Canada, the United States, the United

Kingdom or elsewhere, to give effect to this Order and to assist the Applicants, the Monitor and

their respective agents in carrying out the terms of this Order. All courts, tribunals, regulatory

and administrative bodies are hereby respectfully requested to make such orders and to provide

such assistance to the Applicants and to the Monitor, as an officer o f this Court, as may be

necessary or desirable to give effect to this Order, to grant representative status to the Monitor in

any foreign proceeding, or to assist the Applicants and the Monitor and their respective agents in

carrying out the terms o f this Order.




4.     THIS COURT ORDERS that each o f the Applicants and the Monitor be at liberty and are

hereby authorized and empowered to apply to any court, tribunal, regulatory or administrative




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body, wherever located, for the recognition of this Order and for assistance in carrying out the

terms o f this Order.




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                                                             AUG 2 7 2013




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                                SCHEDULE A
                                  Attached.




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          UNITED STATES BANKRUPTCY COURT
          FOR THE DISTRICT OF DELAWARE
          In re
                                                                Chapter 11
                  NORTEL NETWORKS INC., et a l ,
                                                                Case No. 09-10138 (KG)
                                                 Debtors.       (Jointly Administered)


                                                      —• and —

                                                                                 Court File No. 09-CL-7950
                                                 ONTARIO
                                         SUPERIOR COURT OF JUSTICE
                                             (COMMERCIAL LIST)

                IN THE MATTER OF THE COMPANIES' CREDITORS ARRANGEMENT ACT, R.S.C.
                                        1985, c. C-36, AS AMENDED

                  AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
                      . NORTEL NETWORKS CORPORATION, NORTEL NETWORKS LIMITED,
                        NORTEL NETWORKS GLOBAL CORPORATION, NORTEL NETWORKS
                    INTERNATIONAL CORPORATION AND NORTEL NETWORKS TECHNOLOGY
                                             CORPORATION

           APPLICATION UNDER PART IV OF THE COMPANIES' CREDITORS ARRANGEMENT
                               ACT, R.S.C. 1985, c. C-36, AS AMENDED.



                STIPULATION REGARDING EMEA MOTION FOR EXTENSION OF SCHEDULE

                          In conjunction with the agreement of the U.S. Debtors and Canadian Monitor

          and Debtors (together with the EMEA Debtors, the "Estates"), as well as all other Core Parties

         (together with the Estates, the "Parties"), to support the modification to the Litigation Timetable,

         Discovery Plan and Allocation Protocol set forth in EMEA Debtors' Motion to Modify

         Scheduling Orders (the "Motion"), the Parties hereby agree as follows, which agreement shall be

         submitted to the Courts for concurrent approval with modification to the Litigation Timetable,

         Discovery Plan and Allocation Protocol set forth in the Motion. The Parties all acknowledge that


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          rather than seek piecemeal extensions and the burden such practice would have on the Courts

          and the Parties, the Motion and the Parties' support of modification to the Litigation Timetable,

          Discovery Plan and Allocation Protocol as set forth in the Motion is intended both to compensate

          for delays in the Litigation Timetable to date and reasonably anticipated future adjustments that

          will best enable the Parties to meet the proposed amended Litigation Timetable. This Stipulation

          shall be without effect in the event the modification to the Litigation Timetable, Discovery Plan

          and Allocation Protocol as set forth Motion is rejected by the Courts and it is recognized that the

          Parties may have different positions on how the existing or any other proposed amended

          Litigation Timetable can be met, with different conditions, i f these ones are not adopted.

                         1.      The Parties agree that they will complete their non-privileged document

          productions heretofore promised in the manner each of them has described no later than

          September 3, 2013 (the date by which productions will be sent, not necessarily received).

          Privilege logs shall be exchanged, and the production of joint privileged documents to the other

          Estates shall be completed, no later than September 7, 2013.

                         2.      (a)    The Parties agree that none of them will challenge the

          methodology that any other Party has disclosed it has used to gather, review and produce

          responsive documents, including the use of predictive coding, manual reviews, particular

         promised key words, particular promised date ranges, the particular promised custodians whose

         documents have been searched and the particular identified repositories that have been searched.

                                 (b)    Notwithstanding the foregoing, on or before 10:00 am (EDT)

         August 26, 2013, the UKPC shall disclose to the Parties a description of the methodology used to

         gather, review and produce responsive documents and, in the event any other Party notifies the

         other Parties, on or before 10:00 am (EDT) August 29, 2013, that it intends to reserve its right to


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          challenge the methodology disclosed by the UKPC, the preceding sub-paragraph 2(a) shall not

          apply as between any member of that Party's Deposition Group and the UKPC.

                         3.      Save for Parties' right to seek additional limited, targeted disclosure as set

         forth below, the Parties agree to forego further document requests of other Parties or requests

         that additional custodians or repositories of documents be searched. With due consideration

         being given to the associated cost or burden, Parties may seek limited, targeted disclosure of

         particular material documents or types of documents that were not captured by the prior searches

          or whose existence or relevance is discovered after the date hereof. Any Party receiving such a

         request shall reserve all rights to oppose such request. In the event of any dispute over such

          request, the requesting Party may make an application to the applicable Court(s) with a showing

          of good cause for the further disclosure. Nothing herein shall prevent any Party from assessing

          and i f appropriate challenging assertions of privilege by other Parties.

                         4.      After completion of their non-privileged document production as

         contemplated in paragraph 1 above and the completion of their privilege logs and any associated

         production, it is not expected that the Parties will make further productions of documents. In

         order to prevent the selective disclosure and use of favorable documents while avoiding the

         production of documents favorable to other Parties, if any of the Parties do in the future produce

         additional documents other than as a result of a request, agreement or court order providing for a

         targeted search, that Party will perform a full search for responsive documents consistent with

         that Party's methodology or the general methodology employed by any of the Estates. Other

         than pursuant to a specific targeted request, agreement or court order, any partial search for

         documents shall obligate that Party to perform a full search and production consistent with that

         Party's search and review methodology or with the general search and review methodology


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          employed by any of the Estates. In the event of future disagreement or perceived ambiguity

          concerning this paragraph, the Parties describe this agreement as intending for no "cherry-

          picking."

                        5.        The proposed schedule in the Motion shall be amended such that the date

         for depositions or examinations to begin shall be September 23,2013, Notwithstanding the

         foregoing, depositions or examinations previously scheduled through judicial process may

         proceed prior to September 23,2013 if, upon request, the deponent or examinee does not agree

         with the noticing party at least five business days before the scheduled deposition or examination

         date to a mutually acceptable alternative date between September 23, 2013 and the close of fact

         discovery.                *

                        6.        The Parties agree to undertake reasonable efforts to spread depositions and

         examinations evenly throughout the period for fact discovery and shall offer dates for witnesses

         they are producing voluntarily that enables depositions and examinations to be scheduled in such

         manner.

                        7.        The Parties agree that the pendency of any third party discovery requests,

         or the receipt after August 31, 2013 of any third party documents, shall not be grounds to

         adjourn, delay or refuse to schedule the deposition or examination of any witness currently or

         formerly associated with a Party except upon a showing of good cause and determination of the

         Court(s) that it would advance the interests o f justice. In the event of objections by third parties

         with regard to the scope of third party discovery requests or assertions of privilege, the Parties

         agree that they will meet and confer promptly with such third parties (and, as appropriate, among

         themselves) to consider the propriety of narrowing or limiting their scope to avoid the need for

         judicial intervention.    -


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                        8.     Provided appropriate judicial process to compel the production of

         documents or testimony from third parties (which excludes persons currently or formerly

         associated with a Party who are being voluntarily produced for deposition or examination by a

         Party) is issued or comnienced no later than September 30,2013 and the noticing Party proceeds

         thereafter with reasonable diligence, the inability to compel such production of documents or

         testimony by the deadline to complete fact witness depositions or examinations shall not be a bar

         to obtaining such documents or testimony thereafter; provided, however, that

                                a. nothing herein shall prohibit a Party from seeking third party

                                    discovery (through judicial process or otherwise) after September 30,

                                    2013 that is completed by the deadline for completion of fact

                                    depositions and examinations (extendable by agreement of the Parties

                                    or court order for good cause); and

                                b. absent court order, the absolute deadline for the receipt of such

                                    documents or testimony shall be the date for the service of rebuttal

                                    expert reports.

                                c. Except for good cause shown and upon determination o f the Courts

                                    that it would be in the interests of justice, the pursuit of any discoveiy

                                    from third parties shall not provide a basis for further deferral of the

                                    trial date or adjournment of any of the interim dates set forth in the

                                    Motion.


                                 . [Remainder o f Page Left Intentionally Blank]




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                         9.      The Parties support, and will move for, the prompt entry/approval of the

          draft of the Deposition Protocol dated August 23, 2013 in the form annexed hereto as Exhibit 1.



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                       EXfflBIT 1

                    Deposition Protocol
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


                                                          -X

                                                                    Chapter 11
In re

Nortel Networks nI c,, et 1al,
                           ,                                        Case No. 09-10138 (KG)

                                 Debtors.                           (Jointly Administered)

                                                            X


                             DEPOSITION PROTOCOL STIPULATION

         Having conferred and agreed that the orderly and efficient conduct of 2depositions in these
actions requires their mutual cooperation, the parties in this action hereby stipulate and agree that,

subject to order of the U.S. and Canadian Courts, the following protocol (the "Deposition

Protocol") shall apply to' the taking of depositions/examinations in the Allocation dispute, and the
                                                      3
litigations concerning the US Claims and the Canadian Claims.

A.       APPLICABILITY OF DEPOSITION PROTOCOL

         1. This Deposition Protocol shall govern all oral depositions and examinations out of
             court of fact deponents in these proceedings, including depositions pursuant to Federal

             Rule of Civil Procedure 30(b)(6) and party representative examinations pursuant to

             Rule 31 of the Ontario Rules o f Civil Procedure,

1
         In addition to Nortel Networks Inc., the Debtors in the Chapter 11 cases are: Nortel Networks Capital
Corporation, Nortel Altsystems Inc., Nortel Altsystems International Inc., Xros, Inc., Sonoma Systems, Qtera
Corporation, CoreTek, Inc., Nortel Networks Applications Management Solutions Inc., Nortel Networks Optical
Components Inc., Nortel Networks HPOCS Inc., Architel Systems (U.S.) Corporation, Nortel Networks International
Inc., Northern Telecom International Inc., Nortel Networks Cable Solutions Inc., and Nortel Networks (CALA) Inc.
("NNCALA"). Additional information regarding the Debtors can be found in their respective Chapter 11 petitions,
which are available at .http://epiqll.com/nortel
2
         The term "deposition^)," as used herein, refers to both depositions and examinations,
3
         Capitalized terms used in this Deposition Protocol but not otherwise defined shall have the meanings
ascribed to them in the Litigation Timetable and/or the Allocation Protocol.
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           2. This Deposition Protocol shall apply to;

               a. The Canadian Allocation Group and Canadian Claims Defendant Group (the

                  "Canadian Deposition Group");

               b. The US Allocation Group and US Claims Defendant Group (the "US Deposition

                  ;
                  Group")                                                                              .

               c. The EMEA Allocation Group, US EMEA Claimants Group, Canadian EMEA

                  Claimants Group, and UK Pension Claimants ("EMEA Deposition Group")
                  (each of the Canadian Deposition Group, US Deposition Group and EMEA

                  Deposition Group a "Deposition Group") .

               d. All other Core Parties. Except as otherwise provided herein, each Discovery

                  Participant that is not a member of a Deposition Group will be deemed for purposes

                  of this Deposition Protocol to be a member of the Deposition Group with similarly

                  aligned interests for each applicable deposition.

B.         LOCATION OF DEPOSITIONS

           To maximize the efficiency of the depositions/examinations and for the convenience of all

parties:

           1. Depositions taking place in New York shall take place at Cleary Gottlieb Steen &

              Hamilton, LLP, One Liberty Plaza, New York, NewYork, 10006 (or alternative nearby

              site in the event of capacity restrictions).

           2. Depositions taking place in Toronto shall take place at Goodmans LLP, 333 Bay Street

              Suite #3400, Toronto, Ontario M5H 2S7 (or alternative nearby site in the event of

              capacity restrictions).




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         3. Depositions taking place in London shall take place at Herbert Smith Freehills LLP,

             Exchange House, Primrose Street, London EC2A 2HS (or alternative nearby site in the

              event of capacity restrictions).

         4. Depositions taking place in Ottawa shall take place at Gowling LaFleur Henderson

             LLP, 160 Elgin Street, Suite 2600, Ottawa, Ontario KIP 1C3 (or alternative nearby site
              in the event of capacity restrictions).

         5. Depositions in other cities will take place either at a location chosen by the producing

             Discovery Participant, if applicable, or by designation or agreement by the Deposition

             Group(s) with whom the witness was primarily associated, which may take into

              account the convenience of the witness.

         6. The host of each deposition shall provide one large room for the deposition as well as

             one breakout room for each of the three Deposition Groups, and one additional
             breakout room for the witness (and his or her counsel, if the witness is separately

             represented). In the event that more than one deposition occurs at a host firm on a

             given day, only one breakout room needs to be provided per Deposition Group.

         7. AH witnesses who a Discovery Participant has the ability to compel attendance in

             Toronto or New York [or London] shall be produced for deposition in either Toronto,
             New York [or London] at the option of the producing Discovery Participant.

             Discovery Participants shall use reasonable efforts .to produce all cooperating witnesses
             in either Toronto, New York [or London], and each Discoveiy Participant producing a

             cooperating witness shall offer to pay that witnesses' reasonable travel expenses to do




4
         The Parties have not yet reached agreement on whether witnesses currently employed by or under the control
o f the EMEA Debtors or the U.K, Pension Claimants must be produced in Toronto or New York, or may be produced
in London, and have reserved this issue for further discussion among themselves and, failing agreement, resolution by
the Court(s). The Parties do agree that the EMEA Debtors and the U.K. Pension Claimants may produce cooperating
witnesses not employed by them or under their control in London.


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C.       LENGTH OF DEPOSITIONS

         1. For witnesses designated by one or two Deposition 5Groups, the presumption shall be

             that depositions shall last no longer than one seven-hour day (measured by the

             "on-the-record" time).

              a. For witnesses designated by one Deposition Group, five hours shall be allocated for

                  the designating Deposition Group, and one hour each shall be allocated for the

                  remaining two Deposition Groups.

             b. For witnesses designated by two Deposition Groups, three hours shall be allocated

     .           for each designating Deposition Group, and one hour shall be allocated for the

                 remaining Deposition Group.

         2. For witnesses designated by three Deposition Groups, the presumption shall be that

             depositions shall last no longer than one ten-hour day (measured by the
             "on-the-record" time), or one and one half days, at the option of the witness. Each

             Deposition Group shall be allocated equal time.

         3. On August 9,2013, each Deposition Group served all Core Parties with a list of

             designated witnesses that Deposition Group wishes to cross-designate. On August 13,
             2013, each Deposition Group served all Core Parties with a list of witnesses that such

             Deposition Group anticipates requiring more time to examine than the presumed time

             allotment herein, including the amount of time that the Deposition Group requests for

             each such witness. In the event the total amount of time requested exceeds the

             presumptive maximum for a particular deposition and the witness is unwilling to agree

             to such additional time, the parties shall confer in good faith in an effort to reduce the

             total requested time and, failing agreement, shall have the right to seek judicial relief in

5
         If, pursuant to Section 6 o f the Discovery Plan, any Claim or Allocation Group within a Deposition Group
designated or cross-designated the witness, the witness will be deemed "designated by" such Deposition Group,
including for purposes of time allocations.


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    advance of such deposition. I f the witness is willing to agree to additional time

   (including time over and above the total amount requested by the Deposition Groups),

    the Deposition Groups shall confer in good faith on a fair allocation of the additional

   time to depose the witness. Absent extraordinary circumstances, and to avoid the

   burden on a witness to appear twice, any disagreements with the allocated time for a
   deposition must be raised, and if unresolved, judicial relief seeking modification

   sought, prior to a deposition.

4. For purposes of time allocation, Core Parties that are not in one o f the Deposition

   Groups shall be grouped by agreement with a Deposition Group with similarly aligned

   interests for that deposition and, if an agreement cannot be reached, may seek leave of

   the Court(s) or consent of the Deposition Groups for a separate time allocation.

5. The court reporter shall maintain a total running time for actual deposition testimony

   and record how much time is taken in each deposition by each Deposition Group.

6. Where necessary to complete the deposition and avoid unnecessary motion practice,

   the deponent may agree, at the request of any Discovery Participant, to extend the
   length of any deposition for additional time on the same day. The travel plans of other

   Core Parties shall not be an excuse to object to the extension of a deposition in the

   event of such agreement. In the event more than a de minimis amount of additional

   time is granted, the Core Parties shall work collaboratively to fairly allocate such

   additional time.

7. Time spent participating in teleconferences with the Court(s) or their agents during a
   deposition shall not be counted as "on the record" time for purposes of calculating the

   time remaining for the deposition.




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SCHEDULING OF DEPOSITIONS

1. For witnesses designated for deposition by July 30, 2013, Discovery Participants

   advised the other Discovery Participants on August 13, 2013 of those witnesses they

   have been informed will appear voluntarily. After a seven-day grace period expiring

   on August 20, 2013, for witnesses that have not indicated a willingness to appear

   voluntarily, any Discovery Participant may subpoena, issue any other applicable

   process, and/or contact that witness directly (subject to paragraph 2(c), below).

2. For witnesses not voluntarily appearing:

    a. The Discovery Participant with whom the witness was associated must provide last
       known contact information (including phone number) for the witness if not

       previously disclosed in interrogatory responses;

    b. The Discovery Participant with whom that witness was associated must provide the
       name and contact infonnation (including phone number) of the witness's attorney,

       if known;

    c. Any Discovery Participant contacting such witness must first ask the witness i f he

       or she has an attorney for purposes of this litigation, and if the answer is
       affirmative, further contact should occur through that counsel. Discovery

       Participants must otherwise comply with all applicable ethical rules for speaking

       with unrepresented persons; and

    d. Any contacting Discovery Participant shall notify the other Discovery Participants
       if he or she leams of contact or counsel information not previously disclosed to the

       other Discovery Participants.

3. No depositions shall be conducted on weekends absent consent of each of the relevant

   Deposition Groups, on Labor Day (September 2, 2013), Rosh Hashanah (September 4,

   5, and 6, 2013), YomKippur (September 13 and 14, 2013), Canadian Thanksgiving
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   (October 14,2013) and U.S. Thanksgiving (November 28 and 29,2013). In the event a

   weekend deposition is requested and the requisite consent cannot be obtained, the

   Deposition Group proposing such deposition may proceed only with leave upon

   demonstration of good cause to the U.S. Court for depositions taking place in the U.S.,

   the Canadian Court for depositions taking place in Canada, and either Court for

   depositions taking place outside of North America.

4. Except upon order of the Court for good cause shown, or consent of each of the

   Deposition Groups, fact depositions shall be taken only once.

5. A master deposition calendar shall be maintained either online in realtime or by a
   member o f the Scheduling Committee to be designated that shall update and circulate

   the calendar on a daily basis.

6. Depositions of witnesses under the control of a Discovery Participant or otherwise

   voluntarily appearing ("Voluntary Witnesses") shall be scheduled as follows:

    a. A scheduling committee (the "Scheduling Committee") shall be comprised of one

       person for each Deposition Group (who may be represented by an alternate if

       unavailable). By August 26,2013, all Discovery Participants shall provide the

       dates that they have received from each Voluntary Witness on which they are (or

       are not) available to be deposed from September 23, 2013 through November 27,

       2013. Discovery Participants shall seek to obtain multiple potential dates from

       witnesses. All Discovery Participants shall make every reasonable effort to be in a
       position to offer a sufficiently broad range o f dates for their witnesses collectively

       so as to enable depositions of witnesses of each Discovery Participant to be
       scheduled relatively evenly throughout the period for fact depositions.

    b. The Scheduling Committee shall meet and confer by August 30 and as necessary
       thereafter to schedule the depositions of Voluntary Witnesses whose availability is


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     known as-of the date of the creation of that schedule and shall distribute a calendar

     as soon as possible after conferring, but no later than September 4. Objections to

     this initial proposed schedule shall be made on or prior to September 9, 2013.

     Recognizing the importance of accommodating witnesses, objections to a date

     preferred by or required by the witness should be made sparingly and only in

     extreme circumstances.

  c. Subsequent to August 30,2013, Discovery Participants shall provide notice of
     potential deposition dates to the Scheduling Committee promptly after obtaining

     them from Voluntary Witnesses from whom they were unable to provide

     availability prior to the creation of the initial schedule, whereupon the Scheduling

     Committee shall meet and confer (which may be telephonic or by email) within

     three business days of being advised of available dates for a witness to select a
     proposed date for the deposition of that witness (provided however that the

     Scheduling Committee shall endeavor to meet and confer sooner if necessary to

     comply with the notice requirements in paragraph D(7) below). Any proposed

     deposition date and location for each witness determined by the Scheduling

     Committee shall be placed on the master calendar, following which all other

     Discoveiy Participants shall have two business days to object.

  d. I f the Scheduling Committee is unable to agree upon a proposed date for a witness

     within five business days of being provided with available dates, the party with

     whom the Voluntary Witness is cooperating shall select the date and inform the

     Scheduling Committee, following which all other Discoveiy Participants
     (including members of the Scheduling Committee) shall have two business days to

     object.

  e. All objections shall be resolved through a meet and confer among the Scheduling

     Committee (or designated members) and the objector(s) within one business day;

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       failing resolution, the objector must seek relief from the Court(s) within two
       business days thereafter (by letter) by demonstrating good cause or the objection is

       waived,

7. Discovery Participants shall endeavor to provide the Scheduling Committee with

   sufficient advance notice of the first date a Voluntary Witness is available so as to

   provide the Scheduling Committee with sufficient time to notify all Discovery

   Participants of any deposition not less than five business days before examinations in

   North America and not less than seven business days before examinations outside of

   North America i f more notice is not possible, Absent consent of each of the Discovery
   Groups, or authorization by one of the Courts, no deposition may be scheduled upon

   notice to all Discovery Participants of less than three business days if taking place in
   North America and five business days i f taking place outside of North America.

8. Non-party depositions scheduled by compulsory process for witnesses who will not

   appear voluntarily ("Compulsory Witnesses") shall be immediately reflected on the

   calendar upon notice to the Scheduling Committee. Where more than one Deposition

   Group has designated a witness who will not agree to attend voluntarily, those Groups

   shall endeavor to coordinate the selection of a deposition date prior to one Deposition
   Group moving forward unilaterally. Except for such depositions noticed prior to the

   date hereof, where practicable, Discovery Participants shall adapt and utilize the

   Scheduling Committee procedure described in the preceding paragraphs to schedule

   the depositions of Compulsory Witnesses, including the deadlines set forth therein for

   objections, meet and confers and requests for judicial relief.

9. Once a Voluntary Witness has been placed on the master calendar and confirms the

   firm scheduling of his or her deposition, including its proposed length and location, and
   provided there are no timely objections to such scheduling, such Voluntary Witness



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        shall no longer be expected to remain available on any of the other dates that he or she
        may have previously indicated availability.

     10. Once scheduled, depositions may not be postponed except on the unanimous consent

        (given or withheld in good faith) of the Scheduling Committee or for good cause

        authorized by the Court, except in the event of an emergency necessitated by the

        witness with insufficient time to obtain consent or leave. Immediate notice of any

        postponement shall be provided to the other Discovery Participants. So long as

        reasonable notice was provided consistent with paragraph D(7), the filing o f an

        objection shall not result in the adjournment of a deposition unless a court order for

        such adjournment is obtained.

E.   QUESTIONING AT DEPOSITIONS

     1. Deposition Groups shall allocate their time for each deposition among their members
        and shall each designate a lead examiner. Non-repetitive examination may be

        conducted by other Discovery Participants in the same Deposition Group (within the

        time allotted for that Group). The parties shall agree ahead of time on the order of
        questioning at each deposition and the lead examiners in each Deposition Group shall

        work in good faith as provided for in the Discovery Plan to coordinate the questioning

        in an effort to avoid duplication.

     2. No more than two examiners per Discovery Participant may ask questions at a

        deposition. A second examiner may question the witness only on the following
        conditions: (i) the first examiner may not question the witness again after the second

        examiner has begun; (ii) the second examiner must have been present for the entirety of

        the first examiner's questioning; and (iii) the second examiner must question the

        witness only on a separate topic or separate topics than were covered by the first

        examiner.


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3. Depositions shall begin promptly at 9:00 a.m. without exception unless absolutely

   necessary to accommodate the witness. As long as proper notice was provided,

   depositions shall commence at that time even if some Discovery Participants are not
   present.

4. An obj ection by one Discovery Participant preserves that obj ection for all Discovery
   Participants. Discovery Participants shall not make redundant objections.

    a. Objections to form shall be deemed to be on all grounds appropriate for a form

       objection.

    b. No objection other than to the form of the question is waived by failure to assert it
       during the deposition.

5. Nothing shall preclude counsel from seeking an order from the Court(s) to protect the

   witness where counsel has a reasonable, good faith belief that the witness is being

   questioned on wholly irrelevant matters or in an otherwise abusive manner, or that

   there are other grounds under Federal Rule of Bankruptcy Procedure 7026(c) or the

   Ontario Rule of Civil Procedure 34.14 for a protective order with respect to the

   questioning being conducted of the witness. In that event, counsel shall cooperate in
   deferring answers to those questions until later in the deposition to permit counsel to

   contact the Court. I f the Court is unavailable throughout the deposition and the parties

   are unable to reach an agreement on the objected-to questions, the deposition may be

   adjourned until a court ruling can be obtained.

6. Discovery Participants are encouraged to limit attendance at depositions. There shall
   be no limitation on the number of attorneys viewing or listening remotely to a

   deposition, provided those attorneys following remotely remain silent.

7. For planning purposes, attendees shall endeavor to advise a designated person at the

   host location of their identities at least two business days prior to each deposition.

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     8. The Discovery Participants shall endeavor to have the court reporting service stream

         the deposition (audio, video, and/or transcription) over the internet so as to enable

         parties to follow the deposition remotely. Aside from limited questions (no more than

        ten) submitted in writing at least one business day prior to the commencement of the

         deposition where the number and scope of those questions do not warrant the

         attendance of counsel for a particular Discovery Participant at the examination, no

        examination may be conducted or objections asserted by any attorney not present at the
         deposition. No deposition shall be adjourned or delayed due to a problem with remote

         access technology. In the event of the advance submission of written questions, lead

         counsel at the deposition for the Discovery Group encompassing that Discovery

        Participant shall ask the questions but shall have the discretion and the duty not to ask

         any written questions he or she believes would be repetitive.

     9. At the outset of the deposition, on the record, all counsel shall identify themselves and

        the Discovery Participant they represent. The Discovery Participants shall explore

        with the court reporting service how to record the identities of counsel following the

         deposition remotely.

F.   USE OF DOCUMENTS

     1. No later than four business days before a deposition, all Discovery Participants

        intending to examine a deponent may, but shall not be obligated to, serve via email a
        non-binding list of the specific documents (by Bates number or, i f previously marked,
        by exhibit number) that counsel anticipates using or refening to during the deposition.

        Discovery Participants shall endeavor to transmit pdfs of the actual documents with

        such email. In that circumstance, counsel need not bring extra copies of such

        documents except as necessary for the witness and his or her counsel.




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         2. Any counsel who does not pre-designate documents shall not forfeit the right to use
             those documents, but in that case, shall bring at least fifteen copies of such documents

             to the deposition for counsel and the witness, at least six of which must be hard copies

             and the balance of which can be pdfs in electronic form on individual USB

             drives/memory sticks. Any Discovery Participant that requests a copy of a document

             used during a deposition shall be provided one by the examining Discovery Participant

             following the deposition.

         3. Each document marked for identification at a deposition shall be numbered with a new

             exhibit number. Counsel will make their best efforts to use the previously-marked
             exhibits by number in subsequent depositions.

        4. To avoid the possibility o f the same numbers being used for different exhibits during

             concurrently-conducted depositions, exhibits first marked during the deposition of a

             witness primarily associated with the Canadian Debtors shall begin with 1,000, the

             U.S. Debtors shall begin with 2,000, the EMEA Debtors shall begin with 3,000, the UK

             Pension Claimants shall begin with 4,000, and other parties shall begin with 5,000. (To

             the extent that a witness is primarily associated with more than one Discovery

             Participant, the lower sequence shall be used). When more than one deposition is
             occurring on the same day which poses risk of overlap, the examining parties shall
                                                                                           6
             confer in advance about starting numbers to use at those depositions to avoid overlap.

        5. Immediately following each deposition, the initial examiner shall be responsible for

             circulating a list of new exhibit numbers marked at such deposition, with reference to

             Bates numbers.




6
      The Parties intend to confer further and, with the approval of each o f the Discovery Groups prior to the
commencement o f depositions, may refer to exhibits by Bates numbers rather than exhibit numbers.


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     6. The court reporter shall be responsible for ensuring that the original of all deposition

        transcripts, including exhibits, are retained at the court reporter's offices.

G.   RULE 30(B)(6) AND REPRESENTATIVE PARTY DEPOSITIONS/

     EXAMINATIONS

                                        ry
     1. Notwithstanding anything in the Discove       Protocol and Litigation iTmetable to the

        contrary, representative party depositions/examinations for discovery under Rule 31 of

        the Rules o f Civil Procedure f o r Ontario (hereinafter "Representative Depositions" of

        "Representative Witnesses") shall be conducted as follows:

        a. All previously served Rule 30(b)(6) notices are deemed superseded by this

            paragraph. At least ten business days before the commencement of Representative

            Depositions, a Deposition Group may serve a very limited number of subjects on
            which it believes no fact witness currently or formerly associated with the party •

            producing the Representative Witness has provided adequate first-hand testimony.

            Provided such subjects are small in number and reasonable in scope, the

            Representative Witness has a duty to prepare to testify on the designated subjects.

            In the event a party designates an unreasonable number o f subjects relative to the

            time limitations for the examination, subjects of an impermissibly broad scope or
            subjects inappropriate for a Representative Deposition, objections shall be served
            within three business days. The applicable parties shall meet and confer in good

            faith within two business days thereafter and, failing agreement, the burden shall be

            on the noticing party to obtain judicial relief at least two business days (in order to

            enable preparation) prior to the Representative Deposition. The failure to obtain

            judicial relief on a timely basis shall not be a basis to adjourn a Representative
            Deposition.




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       b. Representative Depositions shall be scheduled through the Scheduling Committee

          process and with similar procedures. The identity of Representative Witnesses

           shall be disclosed at least five business days prior to their scheduled deposition
           dates.

       c. Discovery Participants shall not be limited in their examination of the

          Representative Witness to the noticed subjects; however, the Representative

          Witness shall have no duty to prepare for such examination on any specific subjects

          other than those noticed to which no objection was raised or court order obtained.

       d. Any undertakings required in accordance with Rule 31 of the Rules o f Civil

           Procedure f o rOntario shall be limited to specific matters of fact outside the

          Representative Witness's knowledge, information and belief that are not already

          the subject of first-hand deposition testimony obtained from a knowledgeable fact

          witness. In the event of disagreement, the applicable parties shall meet and confer

          promptly and promptly thereafter bring any dispute to the attention of the

           appropriate Court.

2. Each Discovery Participant who filed an independent pleading (other than a

   non-argumentative joinder) shall designate one Representative Witness to be deposed in

   Toronto or New York, unless otherwise agreed by each of the Deposition Groups.

   Additionally, any Discovery Participant (other than the estates or UKP) who filed an

   independent pleading may withdraw such pleading by November 15,2013 (and may file a

   non-argumentative joinder in its place) and thereby not be subject to the requirement to

   designate a Representative Witness. Notwithstanding the foregoing, the Directors and
   Officers shall not be required to designate a Representative Witness.

3. Time allocation for Representative Depositions:




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   a. The Representative Witness for each of the U.S. Debtors, the Canadian Debtors,

       the U.K. Pension Claimants andNNUK shall be deposed for two seven-hour days,

       with one day being allocated to each of the two other Deposition Groups.

   b. The Discoveiy Participants disagree on the amount of time for Representative

       Witnesses for the EMEA Debtors other than NNUK, including whether the EMEA
       Debtors can designate one Representative Witness for all of the EMEA Debtors

       collectively. To the extent they are unable to reach consensual resolution, the

       parties reserve all rights and will seek judicial guidance.

   c. Each Representative Witness for each of the other Discoveiy Participants who filed

       an independent pleading (other than a no n-argumentative joinder) shall be deposed

       for no longer than one seven-hour day (measured by the "on-the-record" time),

       with half being allocated to each of the two opposing Deposition Groups.

I f a party designates a Representative Witness who has already been deposed as a fact

witness, that party waives any objection to a second deposition. Unless agreed to by the

Deposition Participants who noticed the fact deposition, Representative Depositions shall

occur separate from fact depositions.

Representative Depositions shall occur during the last two weeks before fact depositions

end.

COURT REPORTING SERVICES

1. For reasons of cost and efficiency, Ellen Grauer Court Reporting Co. has offered

   discounted rates and shall be used for all depositions.

2. The court reporting service will provide remote access as described herein and secure

   real-time video streaming (if videotaped) and LiveNote, and the host party shall
   provide speaker-phone and internet capability for all depositions. The court reporting

   service will transcribe all conference calls with the Court from the deposition site as

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           part of the deposition transcript for that day. At the end of each day, the court reporter
           will provide a cleaned-up transcript of the LiveNote session (via web or email) to all

           Discovery Participants ordering a transcript.

       3. Depositions may be videotaped or digitally recorded at the request and at the cost of

           any requesting Discovery Participant upon at least five business days' notice (where

           sufficient notice of the deposition is provided) to the court reporting service and all

           Discovery Participants and counsel for the witness. In the event multiple Discovery
           Participants request that a deposition be videotaped or digitally recorded, the cost of

           such taping shall be split equally among all Discovery Participants that request
           videotaping or digital recording. Counsel for the witness shall be entitled to a copy of

           such videotape without cost.

I.     STANDARD STIPULATION

       The following stipulation will apply to all depositions taken in these actions and shall be

included in each transcript by the court reporter:

       1. Upon completion of the transcription of today's session, the original transcript shall be

           sent to counsel for the witness by the court reporter. Counsel shall promptly forward it

           to the witness for review, correction and signature under penalty of perjury. The

           witness shall have 30 days from the day of receipt within which to review, make any

           corrections, sign the deposition transcript under penalty of pequry, and return it to

           counsel. The witness's counsel shall then forward the original transcript plus

           corrections to the court reporter, who will promptly notify all counsel of its receipt and

           any changes to testimony made by the witness.

       2. I f the witness is not represented by counsel, the original transcript will be sent to the

           witness by the court reporter. After review, correction and signature within 30 days

           from the date of receipt, the witness shall return the original transcript to the court


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            reporter, who will notify all counsel of its receipt and any changes to testimony by the
            witness.

        3. The court reporter will retain the original transcript, including exhibits. If, for any

            reason, the original is lost, misplaced, not returned, not signed, or unavailable, a

            certified copy may be used in its place for all purposes. The court reporter is otherwise

            relieved of any statutory duties.

J.     CONFIDENTIALITY

       The Order Entering a Protective Order [D.I. 10805] / [Order (Protective Order), Ontario

Superior Court of Justice, 09-CL-7950, June 11,2013] shall govern the treatment of Confidential

Discovery Material presented at each deposition.

K.     USE OF DEPOSITIONS AT TRIAL

       The Discovery Participants agree that Section 6(c) of the Discovery Plan should be

clarified and amended, as necessary, to allow any Discovery Participant to use, in certain

circumstances to be agreed among the parties (or, failing agreement, as directed by the Courts),

deposition testimony of witnesses (other than deposition testimony of Representative Witnesses,

the use of which is provided for under the Discovery Plan and the applicable Rules) as part of its

direct or rebuttal case at trial, in a consistent manner for the puiposes of Allocation, U.S. Claims

and/or Canadian Claims. To the extent that the content of such deposition testimony would, for
reasons other than the fact that it was obtained in an out-of-court examination, otherwise be
inadmissible under the Ontario mles of evidence or the Federal Rules of Evidence if the witness

were present at trial in the relevant jurisdiction, any Discovery Participant may raise an objection

to the admission of the testimony and either or both of the Court(s) may make a ruling about its

admissibility at trial, based on the rules of evidence in each jurisdiction.

       The Discovery Participants agree to meet and confer in good faith by no later than

September 4, 2013 to endeavor to agree upon the parameters for the use and admissibility of            "

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deposition testimony at trial, and any related considerations such as, without limitation, the extent
to which Discovery Participants will retain the right to compel witnesses to appear at trial. I f the

Discoveiy Participants are unable to reach agreement by September 10, 2013, they will seek the
guidance of the Court(s) on the issue by no later than the week of September 16,2013.
Dated: August 25, 2013
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  IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF NORTEL                                          Court File No: 09-CL-7950
 NETWORKS CORPORATION, NORTEL NETWORKS LIMITED, NORTEL NETWORKS
GLOBAL CORPORATION, NORTEL NETWORKS INTERNATIONAL CORPORATION AND
             NORTEL NETWORKS TECHNOLOGY CORPORATION
                                                                                                  ONTARIO
                                                                                     SUP ERIOR COURT OF JUSTICE
                                                                                      Pro ceeding commenced at Toronto

                                                                                                 ORDER
                                                                                           (Deposition Protocol)



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